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UNITED sTATEs oF AMERICA, ) @§O”/i?
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Plaintiff, )
)
vs. ) NO. 93-10052-03-T
)
RoBERr HENRY BRUCE, )
)
Defendant. )
oRDER DENYING MorioN

 

On July 21, 2005, defendant Robert Henry Bruce, Bureau of Prisons inmate registration
number 03002-033, an inmate at the United States Penitentiary in Atlanta, Georgia, filed a motion
in this closed criminal case styled “Motion Request to Answer Question As To a Defect In the
Proceedings.” In that motion, Bruce contends that, although he was indicted and tried for a capital
crime, the Court appointed only one attorney to represent him. Pursuant to 18 U.S.C. § 3005, if a
capital crime is charged the Court “shall promptly, upon the defendant’s request,” assign two
attorneys to represent him.

Bruce Was indicted along With four co-defendants on November 1, 1993; a superseding
indictment against the same defendants was returned on December ]3, 1993. Bruce Was charged in
eight counts With (i) conspiracy to commit extortion, racketeering, and threats, in violation of 18
U.S,C. § 1951; (ii) affecting commerce and movement of commodities by committing robbery by

use of extortion and threats, in violation of 1 8 U.S.C. §§ 1951 and 2; (iii) use of a firearm during the

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with Hule 55 and/or 32(b) FRCrP on

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commission of a felony, in violation of 18 U.S.C. § 924(0); (iv) use of explosives to destroy by
means of fire, in violation of 18 U.S.C. §§ 844(i) and 2; (v) use of fire to commit robbery and
murder, in violation of 18 U.S.C. §§ 844(h)(1) and 2; (iv) and (vii) first-degree murder to prevent
communication of law enforcement officials, in violation of 18 U.S.C. §§ 1951, 844(i), and
1512(a)(1)(C); and (viii) conspiracy to obstruct justice, commit perjury, and intimidate and threaten
witnesses, in violation of 18 U.S.C. § 371. The United States did not seek the death penalty.

The trial began on April 3, 1995 as to a11 of the defendants except Charles Gary Bruce, who
was a fugitive On April 21 , 1995, the jury found Bruce guilty on each of the eight counts in which
he was named On July 17, 1995, he was sentenced to an effective term of life imprisonment plus
ten years, to be followed by a three-year period of supervised release Judgment was entered on
August 1, 1995, and a corrected judgment was entered on October 10, 1995. The United States
Court of Appeals for the Sixth Circuit affirmed United States v. Bruceq et al., Nos. 95-6046, -6047,
-6048, -6049, 1996 WL 640468 (6“‘ Cir. Nov. 5, 1996), cert denied, 520 U.S. 1128 (Mar. 17, 1997).

Bruce filed a motion under 28 U.S.C. § 2255 on March 16, 1998. On November 19, 1998,
after the United States responded to the motion and Bruce filed a reply, the Court entered an order
denying the § 2255 motion, denying a certificate of appealability, and certifying that an appeal would
not be taken in good faith. Judgment was entered on November 24, 1998. United States v. Bruce,
No. 98-1073 (W.D. Tenn.). Bruce appealed and the Sixth Circuit also denied a certificate of

appealability United States v. Bruce, No. 98-6782 (6th Cir. Nov. 15, 1999).l

 

l Bruce filed a second notice of appeal from the same decision, which was docketed separately by the
Court of Appeals. The second appeal was dismissed for failure to prosecute United States v. Bruce, No. 99-5253
(6fh Cir. May 4, 1999).

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This Court has no authority to hold, upon an irregular motion filed more than eight years after
the Supreme Court denied certiorari on direct appeal, that Bruce’ s trial was defective because he was
not provided with a second attorney pursuant to 18 U.S.C. § 3005. The proper method of raising
issues that were not argued on direct appeal is by motion pursuant to 28 U.S.C. § 225 5. However,
Bruce has already filed a motion under § 2255 in which he did not raise any issues related to 18
U.S.C. § 3005. Section 2255 provides that “[a] second or successive” motion may not be filed
unless it is first “certified as provided in section 2244 by a panel of the appropriate court of appeals.”

Bruce has not obtained permission from the Sixth Circuit to file a second or successive
§ 2255 motion. ln addition, as Bruce has not characterized his present motion as having been
brought under that statute, the Court declines to transfer the motion to the Sixth Circuit. E I_n§
Mn, 295 F.3d 620 (6th Cir. 2002) (cautioning district courts against construing pro se motions
as motions pursuant to § 2255).

The defendant’s irregular motion is DENIED.

lT IS SO ORDERED.

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D. TODD
ED STATES DISTRICT JUDGE

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DATE

   

UNITED sTATEs DISTRICT COURT - WESRNTE DISRTIC 0 TNNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 718 in
case 1:93-CR-10052 was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

Robert H. Bruce
U.S.P.

03002-033
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Honorable .1 ames Todd
US DISTRICT COURT

